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               Exhibit A

Dear FOIA Director Pavlik-Keenan:

Under the provisions of the Freedom of Information Act we are requesting the
latest anonymous data concerning Form I-247/I-247D requests issued for FY
2015 through November 2016. More specifically, we are requesting person-by-
person anonymous data containing the following information:

* Information on the Form I-247/I-247D request
1. Date Form I-247/I-247D was issued and which Form version (I-247 versus I-
247D) used
2. Subject of FORM I-247/I-247D previously transferred to addressee’s custody
and DHS intends to resume custody of the subject to complete processing
3. DHS has determined that:
1. Has engaged in or is suspected of terrorism or espionage, or otherwise
poses a danger to national security,
2. Has been convicted of an offense of which an element was active
participation in a criminal street gang, as defined in 18 USC 521(a), or is
at least 16 years old and intentionally participated in an organized criminal
gang to further its illegal activities,
3. Has been convicted of an offense classified as a felony, other than a
state or local offense for which an essential element was the alien’s
immigration status,
4. Has been convicted of an aggravated felony, as defined under 8 USC
110(a)(43) at the time of conviction,
5. Has been convicted of a ‘significant misdemeanor,’ as defined under DHS
policy, and/or
6. Has been convicted of 3 or more misdemeanors, not including minor traffic
offenses and state or local offenses for which immigration status was an
essential element, provided the offenses arise out of 3 separate incidents.
7. Probable cause exists that the subject is a removable alien (yes/no).
8. Determination that probable cause exists that the subject is a removable
alien based on:
1. A final order of removal against the subject
2. The pendency of ongoing removal proceedings against the subject
3. Biometric confirmation of the subject’s identity and records check of
federal databases that affirmatively indicate, by themselves or in addition
to other reliable information, that the subject either lacks immigration
status or notwithstanding such status is removable under U.S. immigration
law, and/or
4. Statements made voluntarily by the subject to an immigration officer
and/or other reliable evidence that affirmatively indicate the subject either
lacks immigration status or notwithstanding such status is removable under
U.S. immigration law
9. Determined that there is reason to believe the individual in your custody
is an alien subject to removal from the United States
1. Has a prior felony conviction or has been charged with a felony offense,
2. Has three or more prior misdemeanor convictions,
3. Has a prior misdemeanor conviction or has been charged with a misdemeanor
for an offense that involves violence, threats, or assaults, sexual abus or
exploitation, driving under the influence of alcohol or a controlled
substance, unlawful flight from the scene of an accident, the unlawful
possession or use of a firearm or other deadly weapon, the distribution or
trafficking of a controlled substance, or other significant threat to public
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safety,
4. Initiated removal proceedings and served a Notice to Appear or other
charging document,
5. Served a warrant of arrest for removal proceedings
6. Obtained an order of deportation or removal from the United States for
this person
7. Has been convicted of illegal entry pursuant to 8 USC 1325
8. Has illegally re-entered the country after a previous removal or return,
9. Has been found by an immigration officer or an immigration judge to have
knowingly committed immigration fraud,
10. Otherwise poses a significant risk to national ecurity, border security,
or public safety, and/or
11. Other (specify)
4. Date Form I-247/I-247D was canceled or Form I-247 indicates that prior
notification request related to the subject should be disregarded (where
applicable)
5. Reason for cancelation or withdrawal of request
6. Whether Form I-247/I-247D request indicated it was “operative only upon
the subject's conviction”
7. ICE area of responsibility (AOR) issuing the Form I-247/I-247D
8. Following the preparation of the Form I-247/I-247D, ICE administratively
arrested individual (yes/no); if yes, date of ICE arrest.
9. Following the preparation of the Form I-247/I-247D, individual was booked
into ICE Custody (yes/no); and if yes:
a. If yes, date booked into ICE custody and
b. If yes, recorded apprehension method.
10. Following the preparation of the Form I-247/I-247D, OSC was filed in
immigration court (yes/no); if yes, date OSC filed and specific charges to
support request for removal cited.
11. Following the preparation of the Form I-247/I-247D, individual was
deported (yes/no); if yes, date of deportation, latest processing disposition
code, program code and case category at time of departure
12. Code of detention facility initially booked into
13. Name of detention facility initially booked into
14. Initial book-in date

* Information on the aliens on whom Form I-247/I-247D requests have been
placed
15. gender
16. country of birth
17. country of citizenship
18. age
19. year of birth
20. date of original entry
21. date of last entry
22. earliest date reflecting presence in U.S.
23. original entry status
24. last entry status
25. U.S. citizen spouse (yes/no)
26. U.S. citizen parents (yes/no)
27. U.S. citizen child (yes/no)
28. charged with a crime (yes/no) [any charge, not restricted to convictions]
29. most serious criminal charge [any charge, not restricted to convictions]
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30. date of most serious criminal charge [any charge, not restricted to
convictions]
31. status of most serious criminal charge [any charge, not restricted to
convictions]
32. NCIC code for most serious criminal charge [any charge, not restricted to
convictions]
33. convicted of a crime (yes/no)
34. level of most serious criminal conviction (felony, misdemeanor, citation,
etc.)
35. most serious criminal conviction offense
36. date of most serious criminal conviction
37. sentence for most serious criminal conviction
38. NCIC code for most serious criminal conviction offense
39. information on every conviction not just the most serious (date of the
charge, date of the conviction, NCIC code for charge, level of offense
(felony, misdemeanor, citation, etc.), sentence received)
40. information on every charge not just the most serious for which a
conviction has not occurred (date of charge, current status, NCIC code for
charge, level of offense (felony, misdemeanor, citation, etc.))
41. information on the charge for the specific arrest that gave rise to the
FORM I-247/I-247D being placed (did actual charge result (yes/no), date of
charge, current status, date of conviction if applicable, NCIC code for
charge, level of offense (felony, misdemeanor, citation, etc.), sentence
received if applicable)
42. aggravated felon (yes/no)
43. aggravated felon type
44. Any and all information used in determining whether the person is or
isn’t an aggravated felon and particular type
45. meets requirements if held for mandatory detention (yes/no)
46. Andy and all information used in determining whether or not mandatory
detention would be required if held
47. RC Threat Level
48. All information used in determining the RC Threat Level for each person
49. Detainer Threat Level
50. All information used in determining the Detainer Threat Level for each
person
51. LESC L1, L2, L3
52. All information used in determining the LESC level for each person
53. Convicted Criminal L1, L2, L3
54. Any and all information used in determining the convicted criminal level
for each person
55. ICE Priority indicator(s):
1. ICE fugitive (and if yes, date of previously issued removal order)
2. Prior removal and return (and if yes, date of previous removal order)
3. Entered without inspection
4. Overstayed visa
5. Recent border crosser
56. All information used in determining the ICE priority level for each
person
57. Priority per November 20, 2014 memorandum on policies for the
apprehension, detention, and removal of undocumented immigrants)
58. Any and all information used in determining Priority per November 20,
2014 memorandum
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59. whether at the time the Form I-247/I-247D was issued the individual was
serving time after conviction for a criminal offense (yes/no)
60. if the individual was serving time, the information concerning that
offense [date of the charge, date of the conviction, date serving sentence
began, where the individual was incarcerated at the time the FORM I-247/I-
247D was issued, whether facility is a federal, state, or local facility, the
facility code, facility name, state, county, city, facility address), NCIC
code for charge, level of offense (felony, misdemeanor, citation, etc.),
sentence received]
61. case category at time Form I-247/I-247D issued
62. program code at time Form I-247/I-247D issued

* Information on the original arrest, conviction or book-in that lead to ICE
placing a Form I-247/I-247D
63. name of the original arresting or conviction authority
64. city, county and state of the original arresting or conviction authority
65. date of the original arrest/conviction or book-in
66. name of the jail or facility in which the individual was detained where
the FORM I-247/I-247D was sent
67. code of the jail or facility in which the individual was detained where
the Form I-247/I-247D was sent
68. city, county and state of the jail or facility in which the individual
was detained prior where the Form I-247/I-247D was sent
69. type of facility in which the individual was detained where the Form I-
247/I-247D was sent including:
1. ownership (federal, state, local, private),
2. type (prison, jail, hospital, other),
3. special characteristics (juvenile facility, family facility, etc.)
4. custody/license type (holding for only X hours, licensed for long term
custody, licensed for juveniles, licensed for family units, or other special
facilities licensed for)
5. level of security,
6. operated by government vs private company and if private, name of private
company
7. facility under government contract with ICE to provide services (and if
yes, contract number, contract date, and organization contract with
8. facility under government contract with other than ICE to provide services
(and if yes, name of government entity contract with, contract number,
contract date and organization contract with

* Information on the DHS program
70. Was the Form I-247/I-247D issued as part of the 287(g) program (yes/no)
71. Was the Form I-247/I-247D issued following an IDENT/IAFIS
Interoperability match (yes/no)
72. Was the Form I-247/I-247D issued following an IDENT/IAFIS
Interoperability match included in the monthly statistics released for Secure
Communities (yes/no)
73. Was the original Form I-247/I-247D issued as a result of an arrest by the
Border Patrol (yes/no)
74. name of the program or area associated with the original arrest or
apprehension (criminal alien program, fugitive operations, office of
investigations, border patrol operation streamline, other border patrol
program, secure communities, 287(g), etc.)
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75. the apprehension method associated with the latest apprehension
76. name of the non-ICE agency associated with the original arrest or
apprehension (if applicable)
· Additional Information on the FORM I-247/I-247D placed
77. DTA_ACTIVE_IND
78. DTA_ACT_DEPORT_IND
79. DTA_ACT_INVT_IND
80. DTA_ACT_OSC_DT
81. DTA_ACT_OSC_IND
82. DTA_ACT_WA_DT
83. DTA_ACT_WA_IND
84. DTA_CIV_ID
85. DTA_CREATE_DT
86. DTA_DTF_ID
87. DTA_DTLC_CD
88. DTA_FED_REG_IND
89. DTA_GTE_ID
90. DTA_GTE_ID_RETURN_TO
91. DTA_ID
92. DTA_INMATE_NBR_TYPE_CD
93. DTA_LIFT_DT
94. DTA_OTHER_DFTC_CD
95. DTA_OTHER_FACILITY
96. DTA_PREPARE_DT
97. DTA_RDLC_CD
98. DTA_RELEASE_DAY
99. DTA_RELEASE_DT
100. DTA_RELEASE_MONTH
101. DTA_RELEASE_YEAR
102. DTA_REQ_ACCEPT_IND
103. DTA_REQ_DEATH_TRANSF_IND
104. DTA_REQ_ENVELOPE_IND
105. DTA_REQ_NOTIFY_RELEASE_IND
106. DTA_REQ_RETURN_SIG_IND
107. DTA_RETURN_BY_FAX_IND

*· Identifier of individual
108. Sequence number or other designation to identify records relating to the
same alien
109. Subject ID so Form I-247/I-247D record can be associated with DHS data
on other activity related to this individual
110. EID Person ID so Form I-247/I-247D record can be associated DHS data on
other activity related to this individual
111. Any other ID recorded in ICE records so that the Form I-247/I-247D
record can be associated with other activity or information related to this
individual

* Identifier of Form I-247/I-247D
112. Form I-247/I-247D ID so record can be associated with DHS data on other
actions related to this Form I-247/I-247D

Transactional Records Access Clearinghouse (TRAC)
Suite 360
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